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                   Exhibit
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                                                          Case 3:23-cv-06261-JSC Document 29-2 Filed 05/14/24 Page 2 of 2


Channel                                         Number of     Number of   Total Number
                     Channel Link                                                                  Link to Infringement                 Registration Status                          Link to Original Work                                     Author
 Name                                           Subscribers     Videos      of Views
                                                                                                                                                              https://www.facebook.com/watch/?ref=search&v=481700142664492&external_l
Top Fives   https://www.youtube.com/@topfives      2.9M         1,909         1.2B       https://www.youtube.com/watch?v=qQmpKgFurY0        PA 2-214-139                           og_id=259717b5-8b46-47bb-9934-                           Brandon Clement
                                                                                                                                                                           eecaf659add3&q=Hurricane%20Dorian%20wxchasing


Top Fives   https://www.youtube.com/@topfives      2.9M         1,909         1.2B       https://www.youtube.com/watch?v=QzbJK3SNjbk       Not Registered                 https://www.youtube.com/watch?v=UYlOzNmCD6Y                     Jonathan Carruthers



Top Fives   https://www.youtube.com/@topfives      2.9M         1,909         1.2B       https://www.youtube.com/watch?v=7neof87WptY       Not Registered                 https://www.youtube.com/watch?v=exmk58NHsQ8                         Mike Theiss



Top Fives   https://www.youtube.com/@topfives      2.9M         1,909         1.2B       https://www.youtube.com/watch?v=kipmNIK6uV8       Not Registered                  https://www.youtube.com/watch?v=E-8F5Jo8zSQ                  Pecos Hank (Hank Schyma)



Top Fives   https://www.youtube.com/@topfives      2.9M         1,909         1.2B       https://www.youtube.com/watch?v=ElMWMNHf0rY       Not Registered                 https://www.youtube.com/watch?v=GoaHmuhq5x8                       Adrien Mauduit



Top Fives   https://www.youtube.com/@topfives      2.9M         1,909         1.2B        https://www.youtube.com/watch?v=zqdy_l4-zno      Not Registered                  https://www.youtube.com/watch?v=66Yte03B3Lo                        Chris Tangey



Top Fives   https://www.youtube.com/@topfives      2.9M         1,909         1.2B       https://www.youtube.com/watch?v=7qut_P6S1Xk       Not Registered                  https://www.youtube.com/watch?v=66Yte03B3Lo                        Chris Tangey



Top Fives   https://www.youtube.com/@topfives      2.9M         1,909         1.2B       https://www.youtube.com/watch?v=lYRqm0FXTug       Not Registered                  https://www.youtube.com/watch?v=66Yte03B3Lo                        Chris Tangey
